 

Case 1:18-cv-07543-LGS Document 50-1 Filed 01/17/19 Page 1 of 1
Certificate of Registration

This Certificate issued under the seal of the Copyright

Office in accordance with title 17, United States Code,

attests that registration has been made for the work

identified below. The information on this certificate has . .

been made a part of the Copyright Office records, Registration Number

TX 8-559-280

J. Effective Date of Registration:
Op . June 28, 2018

Acting United States Register of Copyrights and Director

 

 

ee -~-—Title of Work: _TARDIGRADES acememmenamoees

Completion/Publication

 

Year of Completion: 2017
Date of 1st Publication: July 12, 2017
Nation of 1° Publication: United States

Author

 

* Author: Anas Abdin
Author Created: text, artwork
Work made for hire: No
Citizen of: Egypt
Domiciled in: Kuwait
Year Born: 1978

Copyright Claimant

 

Copyright Claimant: Anas Abdin

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Limitation of copyright claim

 

Material excluded from this claim: text

New material included in claim: text, artwork

Rights and Permissions

 

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